Pete V. Domenici U.S. Courthouse                                                     Case No.: 19−10730−t7
333 Lomas Blvd. NW, Suite 360                                                        Chapter: 7
Albuquerque, NM 87102
505−415−7999/866−291−6805                                                            Judge: David T. Thuma
www.nmb.uscourts.gov                                                                 Judge/341 Location: TA

                                     UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF NEW MEXICO

In re Debtor(s):

Zomeworks Corporation
a New Mexico Corporation
PO Box 25805
Albuquerque, NM 87125
Tax ID No: 85−0205374



                                                  FINAL DECREE

The estate of the debtor(s) having been fully administered,

IT IS ORDERED that Yvette J. Gonzales is discharged as trustee of the estate, the bond is cancelled, and this
chapter 7 case is closed.




                                                              David T. Thuma
                                                              United States Bankruptcy Judge




nm_finaldecree.jsp




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